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                                 ATTACHMENT B
                               ITEMS TO BE SEIZED

I.    All records, in whatever form, between the period of June 2017 to the present,
      including but not limited to electronic data, e-mails, letters, hardcopy documents, and
      tangible objects, that constitute evidence, fruits, or instrumentalities of violations of
      18 U.S.C. § 1956(a)(1)(B)

      A. Records, documents, and communications, including but not limited to ledgers,
         bank statements, invoices, wire transfer confirmations, receipts indicating the
         receipt or disbursement of funds Yannick Minang, Eunice Offre, and their
         associated businesses, including but not limited to the following individuals and
         entities:
             a. Yannick A. Minang, Sole Proprietor
             b. Minang Trades
             c. Minang Investments
             d. Minang Escrows
             e. Offre Trading
             f. Yannick A. Minang
             g. Eunice Offre

      B. Any laptop computer, smartphone, or media storage device to include thumb-
         drives located in MINANG’s bedroom at the Target Location as well as any
         record of passwords and login/user names.

      C. U.S. currency, cashier’s checks and any other negotiable instruments associated
         with any of the individuals or entities named above in paragraph I(A).

      D. Any and all records indicating possession and/or control of the Target Location by
         MINANG.
